         Case 1:18-cr-00097-KPF Document 48 Filed 10/16/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA

                   -v.-                                18 Cr. 97 (KPF)

DUSEAN PEEDEN,                                            ORDER

                          Defendant.

KATHERINE POLK FAILLA, District Judge:

      It is hereby ORDERED that whereas the Defendant, Dusean Peeden,

USM # 79614-054, has been sentenced in the above case to a term of time

served, the U.S. Marshals are to release the defendant unless any pending

warrants, detainers or other issues are encountered.

SO ORDERED.

Dated:      October 16, 2020
            New York, New York            __________________________________
                                               KATHERINE POLK FAILLA
                                              United States District Judge
